            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 1 of 19 Page ID #:489




               1 LINDA CLAXTON, State Bar No. 125729
                 linda.claxton@ogletreedeakins.com
               2 CHRISTOPHER W. DECKER, State Bar No. 229426
                 christopher.decker@ogletreedeakins.com
               3 OGLETREE, DEAKINS, NASH,
                 SMOAK & STEWART, P.C.
               4 633 West Fifth Street, 53rd Floor
                 Los Angeles, California 90071
               5 Telephone: (213) 239-9800
                 Facsimile: (213) 239-9045
               6
               7 Attorneys for Defendants
                 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
               8 CORPORATION (incorrectly named and sued as “RBC WEALTH
                 MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
               9 INC.”), and THE ROYAL BANK OF CANADA US WEALTH
                 ACCUMULATION PLAN
              10
              11
                                      UNITED STATES DISTRICT COURT
              12
                                     CENTRAL DISTRICT OF CALIFORNIA
              13
              14   STEVEN BENHAYON,                           Case No. CV08-06090 FMC(AGRx)
              15                    Plaintiff,                REPLY MEMORANDUM IN
                                                              SUPPORT OF DEFENDANTS’
              16        v.                                    MOTION FOR PARTIAL
                                                              SUMMARY JUDGMENT ON
              17   ROYAL BANK OF CANADA, a                    PLAINTIFF’S CLAIM FOR
                   Canadian company, business form            BENEFITS UNDER THE ROYAL
              18   unknown; RBC WEALTH                        BANK OF CANADA US WEALTH
                   MANAGEMENT COMPANY, formerly               ACCUMULATION PLAN
              19   RBC DAIN RAUSCHER, INC.,
                   business form unknown; THE ROYAL           Date:        not applicable
              20   BANK OF CANADA US WEALTH                   Time:        not applicable
                   ACCUMULATION PLAN, formerly                DJ:          Florence-Marie Cooper
              21   known as RBC Dain Rauscher Wealth          Courtroom:   (Roybal) 750
                   Accumulation Plan; and, DOES 1             MJ:          Alicia G. Rosenberg
              22   through 20,                                Courtroom:   (Spring) 23
              23                    Defendants.               Trial Date: February 16, 2010
              24
              25
              26
              27
              28
                                                                      CASE NO. CV08-06090 FMC(AGRx)
7579563_3              REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 2 of 19 Page ID #:490




               1                                         TABLE OF CONTENTS
               2                                                                                                           Page(s)
               3
                 I.      INTRODUCTION...........................................................................................1
               4 II.     FACTUAL BACKGROUND .........................................................................2
               5 III.    STANDARD FOR SUMMARY JUDGMENT. .............................................2
               6 IV.     ARGUMENT ..................................................................................................2
                         A.  The WAP’s Status as a Top Hat Plan is Irrelevant to Plaintiff’s
               7             Claim for Benefits. ................................................................................2
               8         B.  The WAP Satisfies The Requirements Of A Top Hat Plan..................3
                             1.     The WAP Limits Participation to a Select Group. .....................3
               9             2.     The WAP Limits Participation to Management And/Or
              10                    Highly-Compensated Employees. ..............................................5
                             3.     Plaintiff’s Assertion that WAP Participants Lacked
              11                    Bargaining Power is Meritless....................................................6
              12             4.     The WAP Is Unfunded. ..............................................................7
                         C.  Plaintiff’s Suggestion of a Conflict of Interest is Meritless. ................9
              13         D.  Plaintiff’s Forfeitures Were Consistent with the Terms of the
              14             WAP. ...................................................................................................10
                         E.  The Determination that Plaintiff’s Termination Resulted from a
              15             Restructuring Benefitted Plaintiff. ......................................................13
              16         F.  The Absence of an Integration Clause is Irrelevant............................14
                   V.    CONCLUSION .............................................................................................15
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
                                                          i            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 3 of 19 Page ID #:491




               1                                          TABLE OF AUTHORITIES
               2                                                                                                             Page(s)
               3 CASES
               4 Abatie v. Alta Health & Life Ins. Co.,
               5   458 F.3d 955 (9th Cir. 2006) ...........................................................................9, 10

               6 Alexander v. Brigham and Women’s Physician’s Organization, Inc.,
                    467 F. Supp. 2d 136 (D. Mass. 2006) aff’d 513 F.3d 37 (1st Cir. 2008) .....passim
               7
               8 Belka v. Rowe,
                    571 F. Supp. 1249 (D. Md. 1983).................................................................4, 6, 8
               9
                 Carraba v. Randalls Food Markets, Inc.,
              10
                    38 F. Supp. 2d 468 (N.D. Tex. 1999) ...............................................................6, 7
              11
                 Demery v. Extebank Deferred Comp. Plan (B),
              12    216 F.3d 283 (2d Cir. 2000) .....................................................................2, 3, 4, 5
              13
                 Dependahl v. Falstaff Brewing Co.,
              14    653 F.2d 1208 (8th Cir. 1981), cert. denied, 454 U.S. 968 (1981) ......................8
              15 Duggan v. Hobbs,
              16   99 F.3d 307 (9th Cir. 1996) .......................................................................3, 4, 5, 6

              17 Firestone Tire & Rubber Co. v. Bruch,
                    489 U.S. 101 (1989) .......................................................................................9, 13
              18
              19 In re Battram,
                    214 B.R. 621 (Bankr. C.D. Cal. 1997) .................................................................4
              20
                 Satchwell v. Long John Silvers, Inc.,
              21
                    1992 U.S. App. LEXIS 9519..............................................................................14
              22
              23
                    STATUTES
              24
              25 29 U.S.C. § 1051(2) ...............................................................................................3, 5
              26 29 U.S.C. § 1144(a) .................................................................................................14
              27 § 414(q)(1)(B) of the Internal Revenue Code ...........................................................6
              28
                                                            ii            CASE NO. CV08-06090 FMC(AGRx)
7579563_3                  REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 4 of 19 Page ID #:492




               1 OTHER AUTHORITIES
               2 DOL Advisory Op. 81-11A (Jan. 15, 1981) ..............................................................8
               3
                 DOL Advisory Op. 90-14A (May 8, 1990) ...............................................................8
               4
                 Fed. R. Civ. P. 56(c) ..................................................................................................2
               5
               6
               7
               8
               9
              10
              11
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
                                                            iii           CASE NO. CV08-06090 FMC(AGRx)
7579563_3                  REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 5 of 19 Page ID #:493




               1 I.      INTRODUCTION
               2         Plaintiff Steven Benhayon’s (“Plaintiff”) Opening Brief Re: 1) Non-
               3 Applicability Of ERISA's Top Hat Exemption To The U.S. Wealth Accumulation
               4 Plan; And 2) Defendants' Execution Of The U.S. Wealth Accumulation Plan In Bad
               5 Faith (“Opening Brief”) fails to establish any claim under ERISA. For the reasons
               6 set forth in Defendants’ Memorandum of Points and Authorities In Support Of Its
               7 Motion For Partial Summary Judgment, and as amplified herein, there is no genuine
               8 dispute with respect to any material fact relating to Plaintiff’s claim for benefits
               9 under the Royal Bank of Canada US Wealth Accumulation Plan (the “WAP” or the
              10 “Plan”) and Defendants are entitled to judgment on this claim as a matter of law.
              11 Plaintiff has not, and cannot, establish that the WAP’s Plan Administrator, the WAP
              12 Committee, abused its discretion in denying his claim for benefits.
              13         It is undisputed that Plaintiff received a distribution of $1,161,876.79 from the
              14 WAP shortly before he was terminated in connection with a reduction in force and
              15 that the only amounts which remained credited to his WAP account at termination
              16 represented unvested employer contributions. Plaintiff’s argument that the WAP is
              17 not a “top hat” plan is irrelevant to whether Plaintiff is entitled to benefits under the
              18 Plan. The only relevance of top hat status is that it exempts the plan from ERISA’s
              19 minimum vesting provisions. However, Plaintiff has not alleged in his complaint or
              20 Opening Brief that the WAP violates ERISA’s minimum vesting provisions.
              21      Even if this status were relevant, the WAP satisfies the requirements of a top
              22 hat plan. As such, even if subject to ERISA, it is exempt from many of the
              23 requirements imposed ERISA plans, including but not limited to the vesting,
              24 participation, and fiduciary mandates. For these reasons, as described more fully
              25 below, Defendants should be granted summary judgment on Plaintiff’s claim for
              26 benefits under the WAP.
              27
              28
                                                         1             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 6 of 19 Page ID #:494




               1 II.     FACTUAL BACKGROUND
               2         The factual background underlying this case, including Plaintiff’s employment
               3 and participation history in the WAP and the relevant provisions of the WAP Plan
               4 Document are set forth at pages 2 through 8 of Defendants’ Memorandum of Points
               5 and Authorities filed on July 22, 2009. In the interest of brevity, those passages are
               6 incorporated by reference as if fully set forth herein.
               7 III.    STANDARD FOR SUMMARY JUDGMENT.
               8         Summary judgment should be granted where “there is no genuine issue as to
               9 any material fact and the moving party is entitled to a judgment as a matter of law.”
              10 Fed. R. Civ. P. 56(c). Plaintiff does not dispute that entry of summary judgment is
              11 appropriate in this case. As set forth in Defendants’ Memorandum In Support Of Its
              12 Motion for Partial Summary Judgment, and as amplified herein, entry of judgment in
              13 favor of Defendants and against Plaintiff is appropriate with respect to Plaintiff’s
              14 claim for benefits under the WAP.
              15 IV.     ARGUMENT
              16         A.     The WAP’s Status as a Top Hat Plan is Irrelevant to Plaintiff’s
                                Claim for Benefits.
              17
              18         Plaintiff’s only reference to the potential relevance of the WAP’s status as a
              19 top hat plan is found at page 7 of his Opening Brief where he asserts that non-top hat
              20 plans are subject to “a stringent set of statutory rules and attendant fiduciary duties
              21 under ERISA.” However, he does not identify which, if any, of those rules or duties
              22 were allegedly violated or implicated in the denial of Plaintiff’s request for benefits,
              23 much less establish that the rule allegedly violated is one to which non-top hat plans
              24 are subject while top hat plans are not. Top hat plans are exempt only from ERISA’s
              25 participation, vesting, funding, and fiduciary provisions. Demery v. Extebank
              26 Deferred Comp. Plan (B), 216 F.3d 283, 287 (2d Cir. 2000) (citing 29 U.S.C. §§
              27 1051(2), 1081(a)(3), 1101(a)(1)). The only such issue even indirectly alleged by
              28 Plaintiff is that he is entitled to benefits that had not yet vested as of the date of his
                                                         2             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 7 of 19 Page ID #:495




               1 termination. However, he does not allege in his complaint, or argue in his Opening
               2 Brief, that the WAP violates ERISA’s minimum vesting provisions. Absent such an
               3 argument, whether the WAP is a top hat plan bears no relevance to his claims, and
               4 there is no need for the Court to decide this issue.
               5         B.    The WAP Satisfies The Requirements Of A Top Hat Plan.
               6         Even if the WAP’s status as a top hat plan were relevant, Plaintiff’s argument
               7 fails because the WAP meets the requirements of a top hat plan. ERISA defines a
               8 top hat plan as a plan that is “unfunded and is maintained by an employer primarily
               9 for the purpose of providing deferred compensation for a select group of
              10 management or highly compensated employees.” 29 U.S.C. § 1051(2). Top hat
              11 plans are exempt from ERISA’s participation, vesting, funding, and fiduciary
              12 provisions. Demery, 216 F.3d at (citing 29 U.S.C. §§ 1051(2), 1081(a)(3),
              13 1101(a)(1)). Plaintiff advances a number of arguments he claims warrant a finding
              14 that the WAP did not qualify as a top hat plan. The undisputed facts, and the
              15 applicable law, however, foreclose his contention.
              16               1.     The WAP Limits Participation to a Select Group.
              17         Plaintiff contends that the WAP is not a top hat plan, because (as Dain
              18 Rauscher represented to the Department of Labor when submitting the WAP’s top
              19 hat exemption notice), approximately 1200 employees were participating in the
              20 WAP, which is more than the number permissible to constitute a “select group.”
              21 Opening Brief at 2. This argument is devoid of factual or legal support.
              22         Initially, Duggan v. Hobbs, the very case on which Plaintiff relies, makes clear
              23 that the relevant test is not how many employees participate in the plan but whether
              24 eligibility “is limited to a small percentage of the employer’s entire work force.”
                                                     th
              25 Duggan v. Hobbs, 99 F.3d 307, 312 (9 Cir. 1996) (emphasis added). Moreover,
              26 “there is no existing authority that establishes when a plan is too large to be deemed
              27 select.” Alexander v. Brigham and Women’s Physician’s Organization, Inc., 467 F.
              28 Supp. 2d 136, 143 (D. Mass. 2006) (internal quotation marks omitted) aff’d 513 F.3d
                                                         3             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 8 of 19 Page ID #:496



                      st
               1 37 (1 Cir. 2008). Plaintiff’s only authority on the issue is Darden v. Nationwide
               2 Mut. Ins. Co., a district court opinion which merely holds that a group comprising
               3 18.7% of the employer’s total workforce was too large to be considered “select” for
               4 purposes of the top hat exemption. Darden v. Nationwide Mut. Ins. Co., 717 F.
                                                                     th
               5 Supp. 388, 397 (E.D.N.C. 1989) aff’d 922 F.2d 203 (4 Cir. 1991) rev’d on other
               6 grounds, 503 U.S. 318 (1992). However, the Second Circuit subsequently held that
               7 a plan which covered 15.34% was not too broad to qualify as a top hat plan, so long
               8 as the other requirements of the test were satisfied. Demery, 216 F.3d at 289. The
               9 Demery court distinguished Darden on the grounds that the group there was both
              10 larger and not limited to management or highly compensated employees.
              11 Specifically, in Darden, the average income of participating employees was
              12 comparable to that of other employees in the company at large. Id. at 288.
              13         Plaintiff has not made any showing regarding the percentage of RBC’s
              14 employees who are eligible to participate in the WAP, other than her argument that it
              15 must be more than one percent of the company’s workforce. Opening Brief at 14:23-
              16 15:3. The argument is both speculative and irrelevant, since numerous courts have
              17 found the “select group” requirement satisfied by much larger groups. See, e.g.,
              18 Alexander v. Brigham and Women’s Physician’s Organization, Inc., 513 F.3d 37, 46
                   st
              19 (1 Cir. 2008) (8.7% of company’s workforce was a “select group”); Belka v. Rowe,
              20 571 F. Supp. 1249, 1252 (D. Md. 1983) (up to 4.6%); Duggan, 99 F.3d at 312
              21 (4.3%); In re Battram, 214 B.R. 621, 625 (Bankr. C.D. Cal. 1997) (3.1%). In fact,
              22 During Plan years 2003 through 2007, only 7.11 to 14.91% of RBC’s workforce was
                                                                         1
              23 eligible to participate in the WAP. [Second Sikich Decl. ¶ 6, p. 1:19-24.] Thus, at
              24 all relevant times, the group of WAP-eligible employees was below the threshold
              25 which Demery found acceptable, and in several years, below the thresholds found
              26
                         1
              27         “Second Sikich Decl.” refers to the Second Declaration of Gabriela Sikich
                 In Support Of Defendants’ Motion For Partial Summary Judgment On Plaintiff’s
              28 Claim For Benefits Under the Royal Bank of Canada US Wealth Accumulation Plan,
                 filed concurrently herewith.
                                                        4             CASE NO. CV08-06090 FMC(AGRx)
7579563_3              REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 9 of 19 Page ID #:497




               1 acceptable in other cases as well. Accordingly, there is no support for Plaintiff’s
               2 argument that the WAP fails to qualify as a top hat plan because it is not limited to a
               3 “select group.”
               4                2.    The WAP Limits Participation to Management And/Or
                                      Highly-Compensated Employees.
               5
               6         Plaintiff further argues that the WAP does not meet the requirements of a top
               7 hat plan because participation was not limited to executives, but rather extended to
               8 the company’s sales force, in his words “the working nuts and bolts of the RBC
               9 system.” Opening Brief at 17:21-24. Once again, however, Plaintiff misses the
              10 mark. A plan qualifies as a top hat plan if it is limited to a select group of
              11 “management or highly compensated employees.” 29 U.S.C. § 1051(2) (emphasis
              12 added). Where the participants qualify as “highly compensated employees,” the
              13 positions they hold are irrelevant for determining whether the plan qualifies for top
              14 hat status. See Duggan, 99 F.3d at 312 (top hat requirements satisfied where plaintiff
              15 did not dispute that he was highly compensated); Alexander, 513 F.3d at 46 (plan for
              16 highest earning surgeons in medical group was top hat plan).
              17         It is beyond reasonable dispute that all of the employees who are (or were)
              18 eligible to participate in the WAP were “highly compensated.” The average
              19 earnings of all WAP-eligible employees from 2003 through 2007 were between
              20 $269,156 and $345,307 per year. [Second Sikich Decl. ¶ 7, p. 1:25-27.] Thus, in
              21 2003 through 2007, WAP-eligible employees earned at least 3 times as much as the
              22 general workforce of WAP-participating subsidiaries, and in one year, earned 4.5
              23 times as much. Id. ¶ 8, p. 1:28-2:3. Accordingly, WAP-eligible employees were
              24 highly compensated. See Alexander, 513 F.3d at 46 (plan contributors were highly
              25 compensated where they earned five times the income of the workforce); Demery,
              26 216 F.3d at 289 (plan-eligible employees were highly compensated where they
              27 earned more than twice the average workforce earnings).
              28
                                                         5             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 10 of 19 Page ID #:498




               1         The fact that the WAP participants were highly compensated is further
               2 supported by the definition of highly compensated taken by the Internal Revenue
               3 Service during the relevant time period. See Belka, 571 F. Supp. at 1253
               4 (considering IRS standard for “highly compensated” in determining that plan
               5 participants were within a “select group”). In 2007, the Internal Revenue Service
               6 (IRS) defined the Highly Compensated Employee Limitation (“HCE”) under
               7 §414(q)(1)(B) of the Internal Revenue Code of 1986 using an earnings threshold of
               8 $100,000 per year. See IR-2008-118. The WAP-eligible employees have always
               9 easily exceeded this standard.
              10               3.     Plaintiff’s Assertion that WAP Participants Lacked
                                      Bargaining Power is Meritless.
              11
              12         Plaintiff further contends that the WAP fails to qualify as a top hat plan
              13 because WAP participants did not have the bargaining power to affect the terms and
              14 conditions of the WAP. Open Br. 15:4-18:5. However, nothing in the statutory
              15 definition of a top hat plan creates such a requirement. Indeed, Plaintiff’s entire
              16 argument rests on a single district court opinion from outside this circuit, Carraba v.
              17 Randalls Food Markets, Inc., 38 F. Supp. 2d 468 (N.D. Tex. 1999), which, in turn,
              18 relies on an opinion letter from the Department of Labor stating its views as to
              19 Congress’ reasons for exempting top hat plans from many of ERISA’s
                              2
              20 requirements. See Carraba, 38 F. Supp. 2d at 477. Such opinions hardly provide
              21 authoritative grounds to depart from the plain language of the statute and add
              22 additional requirements to those enacted by Congress. Not surprisingly, the Carraba
              23 holding has come under heavy criticism. See Alexander, 513 F.3d at 46-48.
              24
                         2
              25          Plaintiff incorrectly asserts that Carraba “relied heavily on the Ninth
                 Circuit’s reasoning in Duggan,” suggesting that it was nothing more than a logical
              26 extension of that opinion. Opening Brief at 15:20-22. In fact, Carraba does not
                 even cite to Duggan. Moreover, while Duggan suggests that a participant’s ability to
              27 affect the terms and operation of the plan through negotiation may be a relevant
                 factor in determining top hat status, it nowhere holds that such power is required.
              28 Indeed, the Duggan court had no occasion to reach the issue, as it found that the
                 plaintiff there did have such power. Duggan, 99 F.3d at 312-13.
                                                         6             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 11 of 19 Page ID #:499




               1         The Alexander court rejected Carraba’s (and Plaintiff’s) position that a plan
               2 does not qualify as a top hat plan unless its participants have bargaining power to
               3 influence the terms and operation of the plan on multiple grounds. First, the court
               4 noted, the DOL opinion letter did not present itself as an interpretation of the
               5 relevant statute or purport to define the requirements for top hat status under the
               6 statute. Id. at 47, 48. Thus, by its own terms, it did not support the conclusion
               7 which Carraba derived from it. Id. Second, neither the language of the statute nor
               8 its legislative history “contains the slightest hint that courts would consider
               9 employees’ ability to bargain over the terms of their deferred compensation plans” in
              10 determining top hat status. Id. at 48. To the contrary, the tests contained in the
              11 statute seemed reasonably designed to effectuate the purpose ascribed to Congress by
              12 the opinion letter. Id. at 47. For all the reasons, the Alexander court declined to
              13 follow Carraba, as this Court should as well. Id. at 47-48
              14         Even if this Court rejects the better-reasoned opinion in Alexander and follows
              15 Carraba, Plaintiff’s argument would still fail because he provides no evidence to
              16 support his assertion that WAP participants lacked bargaining power, arguing instead
              17 that the fact of this lawsuit proves that he lacked such bargaining power. However, it
              18 could just as easily show that he did have power, but now regrets the deal that he
              19 struck. Since he offers no evidence to support his position, Plaintiff’s argument
              20 should be rejected.
              21               4.      The WAP Is Unfunded.
              22         On pages 18 through 20 of his Opening Brief, Plaintiff argues that the WAP is
              23 not “unfunded” under ERISA, and that it therefore does not meet the definition of a
              24 “top hat plan.” The lynchpin of Plaintiff’s argument is that, “[a]s the WAP clearly
              25 comprises Plaintiff’s own contributions, RBC cannot claim that the WAP was
              26 completely “unfunded’ and thus top hat exempted.” Opening Brief at 19. This
              27 argument represents a material misrepresentation of the operation of the WAP and a
              28 fundamental misunderstanding of the law.
                                                         7             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 12 of 19 Page ID #:500




               1         ERISA does not define the circumstances under which a plan is “unfunded.”
               2 In examining that issue, the concept of funding a plan implies the existence of assets
               3 held separately from the general assets of the employer. A plan is unfunded where
               4 there is no res (or property) separate from the general assets of the company.
               5 Dependahl v. Falstaff Brewing Co., 653 F.2d 1208, 1214 (8th Cir. 1981), cert.
               6 denied, 454 U.S. 968 (1981). See also Belka, 571 F. Supp. at 1251-52; DOL
               7 Advisory Op. 81-11A (Jan. 15, 1981). In this case, the undisputed evidence is that
               8 the benefits under the WAP are paid from the general assets of the Company.
                               3
               9 [Sikich Decl., ¶ 8, Exh. G, pp. 25 & 35-36 (2007 Plan Document §§ 2.4 & 8.2).]
              10 Plaintiff has come forward with no evidence whatsoever of the existence of a
              11 separate trust that would somehow cause the WAP to be considered funded under
              12 ERISA. Plaintiff’s assertions to the contrary are meritless.
              13         Furthermore, contrary to the implication Plaintiff asks the Court to draw,
              14 Plaintiff did not contribute one red cent of his own money to the WAP. What
              15 Plaintiff and other participants did was agree, at a point before they became entitled
              16 to payment, to opt to forego the future receipt of a portion of their compensation.
              17 [Sikich Decl., ¶ 8, Ex. G, page 25, (2007 WAP Plan Document § 2.2)] While
              18 Plaintiff could have taken payment of these amounts, he chose instead to defer
              19 receipt until a future date (hence the term “deferred compensation”), subject to a
              20 potential return on investment in the interim.
              21         This structure of deferred compensation is a well established model for top hat
              22 plans. Top hat plans do not fail to be “unfunded” solely because their terms permit
              23 employee-participants to elect to defer percentage of their compensation. DOL
              24 Advisory Op. 90-14A (May 8, 1990). Plaintiff’s assertion that the WAP is not a top
              25 hat plan, because it is not unfunded, based on the fact that some of the balance in the
              26
                         3
              27         “Sikich Decl.” refers to the Declaration of Gabriela Sikich In Support Of
                 Defendants’ Motion For Partial Summary Judgment On Plaintiff’s Claim For
              28 Benefits Under the Royal Bank of Canada US Wealth Accumulation Plan, filed
                 concurrently with Defendant’s moving papers in support of this motion.
                                                         8             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 13 of 19 Page ID #:501




               1 participants’ accounts is derived from their deferred compensation is simply not the
               2 law. Defendants are entitled to judgment as a matter of law on this issue.
               3         C.    Plaintiff’s Suggestion of a Conflict of Interest is Meritless.
               4         In his Opening Brief, Plaintiff insinuates the existence of some sort of conflict
               5 of interest based on the administration of the WAP by the WAP Committee and
               6 asserts that, as a result, “there were no checks and balances in place to ensure the just
               7 enforcement of the WAP.” See Opening Brief at 22-23. However, under ERISA’s
               8 statutory scheme, the “checks and balances” Plaintiff seeks are provided by the
               9 judicial review of administrative determinations regarding benefits. See Firestone
              10 Tire & Rubber Co. v. Bruch, 489 U.S. 101, 108-09 (1989) (explaining ERISA’s
              11 remedial provisions, including judicial review of adverse benefit determinations).
              12 Thus, Plaintiff’s argument that there should be “checks and balances” and RBC’s
              13 administration scheme is somehow deficient find no support in ERISA or the case
              14 law interpreting it.
              15         As explained in Defendant’s Memorandum of Points and Authorities in
              16 support of this motion, that review is conducted under an abuse of discretion
              17 standard where, as here, the plan grants the Plan Administrator discretion to make
              18 determinations regarding benefits. Thus, the alleged conflict of interest is relevant
              19 only insofar as it might impact the level of deference owed to that decision. Abatie
                                                                       th
              20 v. Alta Health & Life Ins. Co., 458 F.3d 955, 968-9 (9 Cir. 2006) In fact, there was
              21 no conflict of interest here that would call for heightened scrutiny of the WAP
              22 Committee’s decision and, even if there was, that decision must still be affirmed
              23 because no other interpretation of the WAP Plan provisions is possible.
              24         Plaintiff is mistaken that the individuals who reviewed his claim for benefits
              25 or his appeal had conflicting interests. Under the terms of the WAP, Plaintiff’s
              26 benefits were payable by the Royal Bank of Canada because Plaintiff is a resident of
              27 California. [Sikich Decl., ¶ 8 Ex. G, page 35 (2007 WAP Plan Document § 8.2(a)-
              28 (b).] However, none the members of the WAP Committee who considered
                                                         9             CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 14 of 19 Page ID #:502




               1 Plaintiff’s claim or appeal were employed by that entity. [Second Sikich Decl. ¶ 9,
               2 p. 2:4-13.] Since there was no structural conflict of interest, Plaintiff must point to
               3 other facts suggesting that the members of the WAP Committee were anything other
               4 than disinterested, which he has not done, or that these conflicting interests
               5 influenced their decision-making process. To the contrary, as Defendants have
               6 pointed out repeatedly, the decision to deny Plaintiff’s claim is nothing more than a
               7 straightforward application of the terms of the WAP.
               8         In addition, even if Plaintiff could show that a conflict of interest existed and
               9 affected the review of his claim, it would only mean that the Court would apply
              10 heightened scrutiny to the WAP Committee’s decision rejecting his claim. Abatie,
                                     th
              11 458 F.3d at 968-9 (9 Cir. 2006) However, given the clear terms of the WAP
              12 regarding vesting and forfeiture, that decision must be upheld even under a de novo
              13 standard of review. Since the terms of the WAP permit only one conclusion, the
              14 existence of any alleged conflict of interest is immaterial.
              15         D.    Plaintiff’s Forfeitures Were Consistent with the Terms of the WAP.
              16         On pages 23 through 25 of his Opening Brief, Plaintiff argues that the WAP is
              17 “completely silent” on the issue of vesting with respect to termination without cause,
              18 and that this somehow renders the forfeiture of the unvested Company Contributions
              19 in Plaintiff’s account “wrongful.” Opening Brief at 24-25. Plaintiff contends that a
              20 critical issue in this case is whether “the WAP [Plan’] was set up so as to specifically
              21 preclude benefit vesting and distributions to employees, like Plaintiff, who are
              22 terminated without cause,” asserting that the terms of the WAP are “completely
              23 silent on the vesting and distribution of an employee's benefits when such an
              24 employee is terminated without cause.” Opening Brief at 1.
              25         This argument is specious. The WAP Plan Document expressly provides that,
              26 subject only to certain specifically enumerated exceptions, “all Company
              27 Contributions and Mandatory Deferred Compensation that are not vested on the
              28 participant’s employment termination date shall be deemed forfeited, and such
                                                         10            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 15 of 19 Page ID #:503




               1 participant’s account shall be appropriately reduced.” [Sikich Decl., ¶ 8, Exh. G, p.
               2 29 (2007 WAP Plan Document § 4.5).] Those exceptions are (i) termination on
               3 account of death, disability or retirement, (ii) termination for cause, and (iii)
               4 termination due to restructuring. [Sikich Dec. ¶ 8, Ex. G, p. 28-29 (2007 WAP Plan
               5 Document §§ 4.2 (i) (ii)) & 4.4).] While the terms of the WAP impose more
               6 stringent provisions regarding vesting in situations in which the participant’s
               7 termination is for cause, the general rule is that unvested Company Contributions are
               8 forfeited in the event of termination. [Sikich Decl., ¶ 8, Exh. G, p. 29 (2007 WAP
               9 Plan Document § 4.5).] The undisputed facts in this case are that the unvested
              10 Company Contributions in Plaintiff’s account were forfeited in accordance with the
              11 terms of the WAP upon his termination. Plaintiff’s claim for a distribution of those
              12 amounts therefore fails as a matter of law.
              13         Plaintiff’s quotation of the relevant terms of the WAP is inaccurate in the
              14 extreme. At pages 7 and 8 of his Opening Brief, Plaintiff includes a long block
              15 quotation not from the WAP plan document in effect at the time he presented his
                                                                                        4
              16 claim for benefits, but a Summary Description and Prospectus from 2003. Even
              17 setting aside whether this document is properly part of the administrative record, it
              18 does far more to support Defendants’ position than Plaintiff’s. Indeed, Plaintiff has
              19 so altered and misquoted the text as to create the impression that it supports his
              20 position when, in fact, it refutes it. While the first paragraph of the block quotation
              21 accurately repeats the text of the document, the very next paragraph of the text has
              22 been omitted without any ellipses in the block quotation to signal its omission. That
              23 paragraph, moreover, directly contradicts the argument for which Plaintiff cites the
              24 document, stating:
              25
              26         4
                         The relevant document is attached to Plaintiff’s Amended Supplement To
              27 The Administrative  Record, filed on July 31, 2009. Plaintiff cites this document as
                 “SAA 62,” which, he explains refers to the page bearing bates-stamp no. 62 in the
              28 “Plaintiff’s Supplement to the Administrative Record.” See Opening Brief at p.
                 4:23-26 (footnote 6).
                                                         11            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 16 of 19 Page ID #:504




               1
               2        Distributions that are made prior to the date on which Matching
               3        Contributions, Mandatory Deferred Compensation or Special
               4        Deferred Compensation are vested will, in general, result in the
               5        forfeiture of such contributions.
               6        [Pl.’s Amended Suppl. To The Admin. Record, [dkt. # 37], filed July 31,
               7        2009, at 00062 (2003 Summary Description and Prospectus p. 7).]
               8 The next two paragraphs of the block quotation repeat some of the text of the
               9 following paragraph in the document, but again language has been added or omitted
              10 without proper use of ellipses or brackets to signal alterations. [Compare Opening
              11 Brief at 8:3-9 with Pl.’s Amended Suppl. To The Admin. Record, [dkt. # 37], filed
              12 July 31, 2009, at 00062 (2003 Summary Description and Prospectus p. 7).]
              13 Plaintiff’s brazen misuse of this document is worthy of judicial admonition, if not
              14 sanction.
              15        Plaintiff’s citation to the distribution provisions of the WAP Plan Document is
              16 only slightly less misleading. At page 4 of his Opening Brief, Plaintiff points out
              17 that the WAP provides special rules for distribution upon separation. Opening Brief
              18 4:3-8. What Plaintiff glosses over, however, is that it is the “Account Balance”
              19 which is subject to distribution. And Section 4.5 of the WAP provides in
              20 unambiguous language that “[e]xcept as otherwise specifically set forth herein, all
              21 Company Contributions . . . that are not vested on the participant’s employment
              22 termination date shall be deemed forfeited, and such participant’s account shall be
              23 appropriately reduced.” [Sikich Decl., ¶ 8, Exh. G , p. 29 (2007 WAP Plan
              24 Document § 4.5).] Thus, after termination, any unvested Company Contributions are
              25 no longer included in the “Account Balance” and the distribution provisions in
              26 Section 5 of the WAP have no bearing on the treatment of these forfeited amounts.
              27
              28
                                                         12            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 17 of 19 Page ID #:505




               1         E.     The Determination that Plaintiff’s Termination Resulted from a
                                Restructuring Benefitted Plaintiff.
               2
                         At page 22 of his Opening Brief, Plaintiff attacks the fact that Plaintiff’s
               3
                   termination was deemed by the Committee to have been the result of a restructuring.5
               4
                   Plaintiff points out that Section 4.4 of the 2007 WAP provides:
               5
                         In the event a participant ceases to be employed by the Company, any
               6
                         Participating Subsidiary and any other affiliate of the Company due to an
               7
                         organizational restructuring (as determined in the sole discretion of the
               8
                         Committee), all Mandatory Deferred Compensation in such participant's
               9
                         account shall become vested, but all unvested Company Contributions
              10
                         shall be forfeited.
              11
                         [Sikich Dec. ¶ 8, Ex. G, p. 29 (2007 WAP Plan Document § 4.4).]
              12
                         As Plaintiff notes, the Committee is vested with discretion to make the
              13
                   determination as to whether a participant’s termination is the result of a restructuring.
              14
                   However Plaintiff has not shown that the Committee abused its discretion in
              15
                   characterizing the reduction in force which eliminated his position as a restructuring,
              16
                   only that he disagrees with that interpretation of the plan language. The relevant
              17
                   inquiry, however, is whether the Committee’s interpretation was so unreasonable as
              18
                   to amount to an abuse of discretion. Firestone, 489 U.S. at 114-15. Short of that
              19
                   level, the Court must defer to the Committee’s interpretation of the WAP Plan
              20
                   Document.
              21
                         Moreover, even if Plaintiff were correct that section 4.4 does not apply to his
              22
                   termination, it would make no difference, since section 4.4 is more lenient than the
              23
                   general forfeiture provision in section 4.5. Under section 4.4, any Mandatory
              24
                   Deferred Compensation in his account would have vested (it would not have
              25
                         5
              26         Plaintiff inaccurately states that there is no record that the WAP Committee
                 actually met and considered his initial request for accelerated vesting which he
              27 presented in November 2007. In fact, the Committee considered and rejected the
                 claim at its meeting on December 7, 2007, as reflected in the agenda of that meeting
              28 and the minutes entered subsequently. These documents are attached to the Sikich
                 Declaration filed on July 22, 2009 as Exhibits K and L, respectively.
                                                         13            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 18 of 19 Page ID #:506




               1 otherwise) and only Company Contributions would be forfeited. [Sikich Dec. ¶ 8,
               2 Ex. G, p. 29 (2007 WAP Plan Document § 4.4).] However, the only amounts
               3 remaining in Plaintiff’s WAP account at the time of his termination were unvested
               4 Company Contributions, which are forfeited upon termination under both sections
               5 4.4 and 4.5. Thus, whichever section governs, Plaintiff was not entitled to vesting of
               6 the amounts he seeks by this lawsuit.
               7         F.     The Absence of an Integration Clause is Irrelevant.
               8                Finally, at page 25 of his Opening Brief, Plaintiff argues that the
               9 absence of an integration clause means that the terms of the WAP do not represent
              10 the entire agreement of the parties. Opening Brief at 25. This argument is absurd.
              11 The interpretation of the terms of the Plan is vested in sole discretionary authority of
              12 the WAP Committee. [Sikich Decl., ¶ 8, Exh. G, p. 34 (2007 WAP Plan Document
              13 § 7.1).] The ability to amend the terms of that document is expressly limited to
              14 action by either the Committee or the Board of Directors. Plaintiff provides no
              15 factual support for any potential modification of the terms of the WAP Plan
              16 documents with respect to his participation therein.
              17         Moreover, the only support Plaintiff provides for his argument consists of two
              18 unreported decisions of the Ninth Circuit. Such citation is, of course, improper for
              19 the purpose for which Plaintiff offers these authorities. See 9th Cir. R. 36.3.
              20 Further, at least on of those relies on California law. See Satchwell v. Long John
              21 Silvers, Inc., 1992 U.S. App. LEXIS 9519 *5 n.1 (9th Cir. April 9, 1992). Subject to
              22 certain exceptions not applicable in this case, Section 514(a) of ERISA provides that
              23 "the provisions of [Title I and Title IV of ERISA] shall supersede any and all State
              24 laws insofar as they may now or hereafter relate to any employee benefit plan." 29
              25 U.S.C. § 1144(a). Plaintiff’s reliance on a state-law contract theory to support his
              26 claim is contrary to the well-settled law in this area and should be rejected.
              27 Defendants are entitled to judgment as a matter of law on Plaintiff’s claim for
              28 additional benefits under the WAP.
                                                         14            CASE NO. CV08-06090 FMC(AGRx)
7579563_3               REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
            Case 2:08-cv-06090-FMC-AGR Document 39 Filed 08/05/09 Page 19 of 19 Page ID #:507




               1 V.      CONCLUSION
               2         Plaintiff’s Opening Brief focuses on irrelevant arguments attacking, generally,
               3 the WAP and its administration. Plaintiff fails to explain anywhere in his brief how
               4 these arguments relate to his claim for benefits under the Plan. This may be because
               5 he must acknowledge that under the clear language of the Plan, he is not entitled to
               6 the benefits he claims.
               7         Based on the provisions of the WAP, and the Administrative Record, it is clear
               8 that the Committee did not abuse its discretion in denying Plaintiff’s claim for
               9 benefits. Defendants are entitled to judgment as a matter of law.
              10
                   DATED: August 5, 2009                    OGLETREE, DEAKINS, NASH, SMOAK
              11                                            & STEWART, P.C.
              12
              13
              14                                            By:        /s/ Linda Claxton
                                                                            Linda Claxton
              15                                            Attorneys for Defendants
              16                                            ROYAL BANK OF CANADA, RBC
                                                            CAPITAL MARKETS CORPORATION
              17                                            (incorrectly named and sued as “RBC
                                                            WEALTH MANAGEMENT COMPANY,
              18                                            formerly RBC DAIN RAUSCHER,
                                                            INC.”), and THE ROYAL BANK OF
              19                                            CANADA US WEALTH
                                                            ACCUMULATION PLAN
              20
              21
              22
              23
              24
              25
              26
              27
              28
                                                        15            CASE NO. CV08-06090 FMC(AGRx)
7579563_3              REPLY MEMORANDUM ISO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
